                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
    PARAGON COMPONENT SYSTEMS, LLC, )
                                    )
           Plaintiff,               )
                                    )
    v.                              ) Case No.: 1:24-cv-00246-CEA-CHS
                                    )
    QUALTIM, INC., et al.,          )
                                    )
           Defendants.              )

           PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO SUPPLEMENT

        Plaintiff Paragon Component Systems, LLC replies in support of its motion to file a

 supplemental complaint, Doc. 52.

        As explained in its supporting brief, Doc. 53, Paragon seeks to file a tortious-interference

 claim against Defendants Kirk Grundahl, Qualtim, Inc., DrJ Engineering, LLC and Center for

 Business Innovations, LLC. See Doc. 53-1. The facts supporting this claim occurred months after

 Paragon had filed its declaratory-judgment complaint on July 23, 2024. See Doc. 53-1 ¶ 2; Doc. 1.

 For this reason, Paragon seeks to file a supplemental complaint under Federal Rule of Civil

 Procedure 15(d).

        In response, Defendants ask the Court to deny the motion on the ground that the proposed

 supplemental claim does not arise from the same conduct, transaction, or occurrence as the original

 complaint. Doc. 59 at 2. To the contrary, the false publications by Mr. Grundahl and his companies

 relate directly to this lawsuit and the matters underlying Paragon’s declaratory-judgment claims.

 See Doc. 53-1.

        Regardless, it does not matter whether the supplemental claim arises from the same

 conduct, transaction, or occurrence as the original complaint. This standard, which Defendants ask

 this Court to apply, is entirely inapplicable to this case. First, Defendants cite McNichols v. Lyons,


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Case 1:24-cv-00246-CEA-CHS             Document 60        Filed 01/10/25      Page 1 of 5      PageID
                                            #: 934
 No. 3:17-CV-688-RGJ, 2023 WL 5154525, at *5 (W.D. Ky. Aug. 10, 2023), for the proposition

 that “Plaintiff’s allegation of tortious interference is a civil tort and would constitute a ‘separate,

 distinct, and new cause of action’ which is not the purpose of supplemental pleadings. [Id.] ‘[T]he

 Court does not allow amendment or supplementation … because it is a new claim and does not

 arise from the same conduct, transaction, or occurrence as the matters from [the original]

 complaint.” Doc. 59 at 2. But Defendants fail to mention that McNichols concerns the question

 whether amending to assert a new claim against a new defendant under Rule 15(c) relates back,

 for statute-of-limitation purposes, to the filing of the original complaint:

        Rule 15(c)(1)(C) provides that an amendment that changes the party or the naming
        of the party against whom a claim is asserted relates back to the date of the original
        complaint only where: (1) the claim to be amended arose out of the same transaction
        or occurrence as the original complaint; (2) the party to be added received such
        notice that he will not be prejudiced in defending on the merits; (3) the party to be
        added knew or should have known that, but for a mistake concerning the identity
        of the proper party, the action would have been brought against him; and (4) the
        second and third requirements were satisfied within the period provided for service
        of the summons and complaint, 120 days.
 McNichols, 2023 WL 5154525, at *5. This standard has nothing to do with this case. Mr. Grundahl,

 Qualtim, Inc., DrJ Engineering, LLC and Center for Business Innovations, LLC were Defendants

 to the original complaint, Doc. 1.

        Second, when McNichols says that “[s]upplemental pleadings ‘cannot be used to introduce

 a separate, distinct and new cause of action,” 2023 WL 5154525, at *7, it is addressing the related

 question whether a supplemental claim under Rule 15(d) may be added against an original

 defendant when the new claim can avoid being time-barred only if it relates back to the filing of

 the original complaint. This issue also has nothing to do with this case. The tortious conduct at

 issue here occurred in October 2024, less than two months before Paragon filed its motion to

 supplement. Doc. 53-1 ¶ 2. Paragon’s tortious-interference claim could not possibly be time-barred



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Case 1:24-cv-00246-CEA-CHS             Document 60         Filed 01/10/25       Page 2 of 5      PageID
                                            #: 935
 under Tennessee’s three-year limitation period for torts. See Smith v. Rosenthal Collins Grp., LLC,

 340 F. Supp. 2d 860, 864 (W.D. Tenn. 2004); T.C.A. § 28-3-105(1).

        In the absence of any statute-of-limitation and relation-back concerns, the Court’s sole

 considerations are whether the Court will exercise its discretion to permit the supplementation.

 “[E]xercising its discretion, a trial court should be mindful that supplementation, like amendment,

 should be freely granted.” Bormuth v. Whitmer, 548 F. Supp. 3d 640, 646 (E.D. Mich. 2021)

 (emphasis added, citation omitted). There has been no undue delay in Paragon’s assertion of its

 supplemental complaint. The deadline for amending pleadings—April 1, 2025—is months away.

 Doc. 35 at 2. And Defendants have failed to explain how they could suffer any prejudice from the

 supplementation.

        Instead, Defendants make it clear that they would prefer to litigate this case in Wisconsin,

 where they have recently filed (on January 2, 2025) a new state-court complaint against Paragon,

 which arises out of the same controversy at issue here. Doc. 59 at 2; Doc. 59-1. Defendants’

 impermissible attempt at forum-shopping provides no valid grounds for denying Paragon’s motion

 to supplement its complaint in the instant case.

        Respectfully submitted this 10th day of January 2025.

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                                                    3

Case 1:24-cv-00246-CEA-CHS            Document 60        Filed 01/10/25     Page 3 of 5      PageID
                                           #: 936
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                                     4

Case 1:24-cv-00246-CEA-CHS   Document 60   Filed 01/10/25    Page 4 of 5      PageID
                                  #: 937
                                  CERTIFICATE OF SERVICE

        I certify that on January 10, 2025 a copy of the foregoing Plaintiff’s Reply is being served

 on all counsel of record by electronically filing it via the Court’s filing system.

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                                                   5

Case 1:24-cv-00246-CEA-CHS             Document 60         Filed 01/10/25      Page 5 of 5   PageID
                                            #: 938
